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                              UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


  UNITED STATES OF AMERICA,

  V.                                                   Criminal Case No. l:18-CR-457(AJT)

  BIJAN RAFIEKIAN


  and


  KAMIL EKIM ALPTEKIN,

  Defendants.


                     DEFENDANT BIJAN RAFIEKIAN'S WITNESS LIST


         Defendant Bijan Raflekian, through counsel, submits this witness list pursuant to the

  Court's order dated February 13, 2019[ECF No.46]. Defendant reserves the right to modify,

  supplement, or amend this list. Defendant further reserves the right to call additional witnesses,

  who may not be included here, to rebut or respond to testimony, evidence, or arguments

  presented by the government, or for authentication purposes.


         Stephen Anthony

         Michael Boston [G<)V.

         William Burck


         James Courtovich (&0V.

         Andrew Durkovic |'
                          ^ 5•D5'5

         Michael T. Flynn

         RobertKelley

         Robert Kelner(QoV. W

         Christine MacNulty
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       Brian McCauiey (G<Ov/.

        Graham Miller           \/vji-WNe.SS)

       Timothy Newberry

        Matthew Nolan


       Bijan Rafiekian

       Brian Smith


       Edward G. Stafford


       Kristen Verderame


       John Wobensmith
                                 -lIzxlH'
 Dated: July 14, 2019

                                                Respectfully submitted,

                                                /j/
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                                                Stacey H. Mitchell {Pro Hac Vice)
                                                Counselfor Bijan Rafiekian
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                                                /s/
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                                CERTIFICATE OF SERVICE

        I hereby certify that, on the 14th day of July 2019,true and genuine copies of

 Defendant's Witness List were sent via electronic mail by the Court's CM/ECF system to the

 following:

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        John T. Gibbs
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                                                           /s/
                                                            Robert P. Trout(VA Bar # 13642)
